a          Case 2:97-cr-00036-JRH-RSB Document 217 Filed 01/27/06 Page 1 of 4




                            IN THE UNITED STATES COURT OF AP P

                                     FOR THE ELEVENTH CIRCUI T




                                                                                            tl,ll~'s

    IN RE : MARIO LEVELL CHAPMAN,

                                                                   Petitioner .




                           Application for Leave to File a Second or Successive
                                       Motion to Vacate, Set Aside ,
                                   or Correct Sentence, 28 U .S .C. § 225 5


    Before BIRCH, CARNES and HULL, Circuit Judges .

    BY THE PANEL :

            Pursuant to 28 U .S .C . §§ 2255 and 2244(b)(3)(A), as amended by §§ 105 and 106 of the

    Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), Mario Level Chapman has filed

    an application seeking an order authorizing the district court to consider a second or successive

    motion to vacate, set aside, or correct his federal sentence, 28 U .S .C . § 2255 . Such authorization

    may be granted only if this Court certifies that the second or successive motion contains a claim

    involving :

                   (1) newly discovered evidence that, if proven and viewed in light of the
            evidence as a whole, would be sufficient to establish by clear and convincing
            evidence that no reasonable factfinder would have found the movant guilty of the
            offense; o r

                   (2) a new rule of constitutional law, made retroactive to cases on collateral
            review by the Supreme Court, that was previously unavailable .

    28 U .S .C . § 2255 . "The court of appeals may authorize the filing of a second or successive
         Case 2:97-cr-00036-JRH-RSB Document 217 Filed 01/27/06 Page 2 of 4

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     application only if it determines that the application makes a p rima facie showing that the application

     satisfies the requirements of this subsection ." 28 U .S.C. § 2244(b)(3)(C).

             In his application , Chapman indicates that he wishes to raise one claim in a second or

     successive § 2255 motion : his Sixth Amendment right to effective counsel was violated when the

     district court did not make a ruling on his ineffective assist ance of counsel claim raised in his

     original § 2255 motion. Chapman asserts that his claim relies upon newly discovered evidence . He

     claims that the newly discovered evidence is Clisby v. Jones , 950 F.2d 925 (11th Cit . 1992), the

     holding of which he just became aware .

            Chapman' s application does not allege that there is newly discovered evidence that would

     establish by clear and convincing evidence that he is not guilty of the underlying offense . See 28

    U.S.C. § 2255 . The fact that he recently discovered the holding of Clisby is irrelevant. To the extent

    that he is relying on Cl_ isbv as a new rule of law, a decision from this Court cannot support a second

    or successive habeas petition because the new rule of law must be set forth and made retroactive by

    the Supreme Court, not by a court of appeals . In re Hill, 113 F .3d 181, 184 (11th Cit . 1997)

    (successive § 2244 application) . Accordingly, Chapman has raised no claim that meets the statutory

    crite ria. To the extent that he is attempting to appeal the findings of the district court on his original

    § 2255 motion, a successive application is not the proper procedure in which to challenge a district

    court's ruling on a § 2255 motion .

           Accordingly, because Chapman has failed to make a prima facie showing of the existence of

    either of the grounds set forth in 28 U.S.C. § 2255, his application for leave to file a second or

    successive motion is hereby DENIED .




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Scott L . Poff
Clerk, U.S . District Court
801 GLOUCESTER ST RM 229
BRUNSWICK GA 31521-7075




                                 January 25, 2006

Appeal Number : 05-17104- J
Case Style : In Re : Mario Levell Chapman
District Court Number :

CC : Mario Levell Chapman (9629021)

CC : Scott L . Poff

CC : Amy Lee Copeland

CC : Lisa Godbey Wood

CC : Administrative File
             Case 2:97-cr-00036-JRH-RSB Document 217 Filed 01/27/06 Page 4 of 4

                               United States Court of Appeals
                                              Eleventh Circui t
                                            56 Forsyth Street , N.W.
                                            Atlanta, Georgia 30303         a ~l''1
Thomas K. Kahn                                                                          For rules and forms visi t
    Clerk                                                                                 v .fal l .uscourts.gov
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                                             January 25, 200 6


          MEMORANDUM TO COUNSEL OR PARTIE S




          Appeal Number : 05-17104- J
          Case Style : In Re: Mario Levell Chapman
          District Court Number :



        The enclosed order has been entered . No further action will be taken in this matter.


                                                Sincerely,

                                                THOMAS K . KAHN, Cler k

                                                Reply To : Deborah Hall (404) 335-618 9



        Encl .




                                                                                                 DIS-4 (3-2005)
